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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-cv-24903-CMA

 SECURITIES AND EXCHANGE
 COMMISSION,

              Plaintiff,

 vs.

 RISHI KAPOOR, LOCATION
 VENTURES, LLC, URBIN, LLC,
 PATRIOTS UNITED, LLC, LOCATION
 PROPERTIES, LLC, LOCATION
 DEVELOPMENT, LLC, LOCATION
 CAPITAL, LLC, LOCATION VENTURES
 RESOURCES, LLC, LOCATION EQUITY
 HOLDINGS, LLC, LOCATION GP
 SPONSOR, LLC, 515 VALENCIA SPONSOR,
 LLC, LV MONTANA SPONSOR, LLC,
 URBIN FOUNDERS GROUP, LLC,
 URBIN CG SPONSOR, LLC, 515 VALENCIA
 PARTNERS, LLC, LV MONTANA PHASE
 I, LLC, STEWART GROVE 1, LLC, STEWART
 GROVE 2, LLC, LOCATION ZAMORA
 PARENT, LLC, URBIN CORAL GABLES
 PARTNERS, LLC, URBIN COCONUT GROVE
 PARTNERS, LLC, URBIN MIAMI BEACH
 PARTNERS, LLC and URBIN MIAMI
 BEACH II PHASE 1, LLC,

              Defendants.
                                                 /

                             DEFENDANTS RISHI KAPOOR’S
                           AMENDED AFFIRMATIVE DEFENSES

       Defendant, RISHI KAPOOR, by and through undersigned counsel, and pursuant to SEC’s

 Unopposed Motion to Strike Defendants’ Affirmative Defenses [DE 70] and Order granting the
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 Motion [DE 71], files his Amended Affirmative Defenses to Plaintiff, SECURITIES AND

 EXCHANGE COMMISSION’S Complaint [DE 14-1] and states:

                              AMENDED AFFIRMATIVE DEFENSE

           As and for his amended affirmative defense, Defendant, KAPOOR, would allege that, to

 the extent put at issue by the Commission, any alleged false or misleading statements referenced

 in the Complaint were based on information supplied by other sources, which information the

 Commission believed to be true. Thus, Defendant lacked the necessary intent, including a lack of

 willfulness, fraud, malice, or reckless disregard.

           As a more factual basis for this defense, Defendant would allege that the SEC allegations

 in the Complaint were based on statements by a disgruntled former employee and two grasping

 Russian investors. While the SEC tried to verify the false claims by utilizing a forensic accountant,

 that accountant did not understand the dynamics of the formation of the Location Ventures (“LV”)

 entities and the method of operations, and thus reached incorrect conclusions upon which the SEC

 relied.

           The Complaint claims that Defendant, RISHI KAPOOR (“Rishi”), paid $10,000 per month

 in LV funds to employ a private chef on his boat and in his home. The accountants verified that

 $10,000 a month was paid by LV to the Ariete Hospitality Group (“AHG”). Thus, the SEC assumed

 that these claims were true. They are not true. In fact, AHG is a well-respected company that

 developed the current concepts for, designed, and/or operates a number of restaurants in Miami-

 Dade County. These restaurants include: the Michelin starred Ariete, the Michelin starred Chug’s

 Diner, Eve, The Oyster Room, The Taurus, The Scape Goat, P.I.G., Inc., The Gibson Room, The

 Allocation Room, E Vecino, Laurel Brasserie and Scoop Records.
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        Rishi, on behalf of LV, hired AHG as consultants for $10,000 per month to develop the

 concepts and to design the 12+ restaurants to be located in the various LV projects. While AHG

 did occasionally cater dinners for investors, the “private chef” myth was a prevarication created to

 discredit Rishi.

        The SEC was advised that Defendant, PATRIOTS UNITED, LLC, (“Patriots United”)

 owned by Rishi, his family, and DJ Motha, did not invest $13 million in LV as they claimed. The

 SEC’s accountants looked at the books of LV and did not see $13 million in cash come into LV at

 the 2020 roll-up of the individual projects into LV. However, between 2015 and the roll-up in 2020

 the principals of Patriots United invested over $11.3 Million by checks and wire transfers into

 various projects that were then rolled-up into LV. The balance of the $13 Million was composed

 of undervalued General Partners’ (“GP”) interests in the various projects that would have earned

 Rishi and Morta over $5 million.

        The SEC claimed that Rishi received $4.6 Million more compensation than that to which

 he was entitled. They reach this conclusion by asserting that the LV Operating Agreement limited

 Rishi’s salary to between $350,000 and $400,000 per year. The SEC ignores the fact that each

 separate project was a Limited Liability Company (“LLC”) and each of those LLC’s had their own

 operating agreements (“Project OA’s”) with their own members (investors). The Project OA’s

 provided for certain fees of between 1% and 4% to be paid for loan guarantees, site acquisitions,

 and raising investor funds. Using the loan guarantees as an example, Rishi, primarily, and

 occasionally DJ Motha, were the only loan guarantors. If Rishi guaranteed a $20 Million loan, he

 was entitled to a $400,000 fee. The purpose of the fees was to provide the guarantor with funds

 from which he could pay the lender a part of the loan amount if LV defaulted.
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        The Complaint alleges that there were many improper transfers between LV and the

 projects, many of which had some different investors. The SEC accountants verified a number of

 such transfers. If, for example, there was no LLC yet formed, there was no bank account yet

 opened, but funds were sought from investors to ascertain if the concept could be funded. If an

 investor committed to invest, for example, $5 Million in the project, LV would take a check or

 wire to Location Capital and park the investment there. Once the land was identified, an LLC was

 formed and a bank account was opened so those investment funds would be properly transferred

 from LV to the particular project.

 Dated: February 26, 2024.                   Respectfully submitted,

                                             SHAHADY & WURTENBERGER, P.A.

                                             /s/Fred A. Schwartz
                                             Fred A. Schwartz, Esq.
                                             Florida Bar No. 360538
                                             200 E. Palmetto Park Road, Suite 103
                                             Boca Raton, FL 33432
                                             Direct: 561-910-3064
                                             Cellular: 561-504-8534
                                             fschwartz@swlawyers.law

                                             John J. Shahady, Esq.
                                             JShahady@swlawyers.law
                                             Florida Bar No. 998990
                                             7900 Peters Road, Suite B-200
                                             Fort Lauderdale, FL 33324
                                             (954) 376-5958

                                             RASKIN & RASKIN, P.A.

                                             Jane Serene Raskin
                                             jraskin@raskinlaw.com
                                             Florida Bar No. 848689
                                             2525 Ponce De Leon Blvd.
                                             Suite 300
                                             Coral Gables, FL. 33134
                                             Attorneys for Defendant Kapoor
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the above and foregoing was served

 by electronic eservice through CM/ECF on all counsel and parties of record this 26th day of

 February, 2024.

                                          SHAHADY & WURTENBERGER, P.A.

                                          /s/Fred A. Schwartz
                                          Fred A. Schwartz, Esq.
